 Case 3:16-cv-00668-L                 Document 17              Filed 04/28/16            Page 1 of 3           PageID 127



                                IN THE UNITED STATES DISTRICT COURT
                                    NORTHERN DISTRICT OF TEXAS
                                          DALLAS DIVISION

DAVID M. STEIN,                                                 §
Individually and on Behalf of all Others                        §
Similarly Situated,                                             §
                                                                §
                   Plaintiff,                                   §
                                                                §
v.                                                              §    Civil Action No. 3:16-CV-549-L
                                                                §    (Consolidated with Civil Action No.
MATCH GROUP, INC., et al.,                                      §    3:16-CV-668-L)
                                                                §
                   Defendants.                                  §

                 ORDER CONSOLIDATING ACTIONS AND EXTENDING
             DEFENDANTS’ DEADLINE TO ANSWER OR OTHERWISE RESPOND

         Plaintiff David M. Stein in this putative class action and Plaintiff Sephany Kam-Wan Chan

in related putative class action in Case No. 3:16-CV-668-L (collectively, “Plaintiffs”), as well as

other prospective plaintiffs or class members (collectively, “Movants”) filed motions to consolidate

the two actions on April 26, 2016 (Docs. 6, 9, 12, 14). Defendants Match Group, Inc. and the

individual Defendants in both actions notified the court that they are not opposed to the motions to

consolidate the two actions. Pursuant to Fed. R. Civ. P. 42(a) and Local Rule 42.1, the court

determines that the above-styled cases should be consolidated.1 Accordingly, the court grants

Plaintiffs’ and Movants’ motions to consolidate the two actions (Docs. 6, 9, 12, 14), and Civil Action

No. 3:16-CV-668-L is hereby closed and consolidated under Civil Action No. 3:16-CV-549-L.



         1
            Federal Rule of Civil Procedure 42(a) provides: “If actions before the court involve a common question of
law or fact, the court may: (1) join for hearing or trial any or all matters at issue in the actions; (2) consolidate the actions;
or (3) issue any other orders to avoid unnecessary cost or delay.” Having considered the pleadings in both actions, the
court determines that common questions of law and fact are present. Moreover, maintaining multiple separate actions
that arise from the same events and present overlapping legal issues is unduly burdensome and an inefficient use of
judicial resources.

Order Consolidating Actions and Extending Defendants’ Deadline to Answer or Otherwise Respond - Page 1
Case 3:16-cv-00668-L          Document 17         Filed 04/28/16       Page 2 of 3      PageID 128



Henceforth, all pleadings filed in this action shall be filed under Civil Action No. 3:16-CV-549-

L, styled Stein, et al. v. Match Group, Inc., et al., and shall bear the legend “Consolidated with

Civil Action No. 3:16-CV-668-L.”

       Each of the motions to consolidate also includes a request by Plaintiffs and Movants for the

court to appoint or approve the appointment of a lead plaintiff and lead counsel for Plaintiff in

accordance with Federal Rule of Civil Procedure 23(a) and the Securities Act of 1933, as amended

by the Private Securities Litigation Reform Act of 1995 (“PSLRA”). In addition, the parties filed

Stipulations in both actions in which they agree, subject to court approval, that Defendants’ time to

file an answer or otherwise respond is extended until after appointment by the court of a lead

plaintiff under the PSLRA. The parties further stipulate that, upon appointment of a lead plaintiff,

they will confer and present for the court’s approval a proposed schedule that establishes a deadline

for the filing of a consolidated complaint, a deadline for the Match Group Defendants and

Underwriter Defendants to answer or otherwise respond to the consolidated complaint, and a briefing

schedule governing any motions filed by Defendants with respect to the consolidated complaint. On

April 15, 2016, the Underwriter Defendants in Civil Action No. 3:16-CV-668-L also filed a separate

Motion to Extend Time to Answer or Otherwise Respond (Doc. 12) seeking similar relief. This

motion appears to have been filed out of an abundance of caution because the Stipulations were not

filed as motions.

       The court hereby approves the parties’ Stipulations (Docs. 4, 9) and denies as moot the

Underwriter Defendants’ Motion to Extend Time to Answer or Otherwise Respond (Doc. 12).

Accordingly, Defendants shall have no obligation to file an answer or otherwise respond until after

the court appoints a lead plaintiff and lead counsel for Plaintiffs and establishes a schedule and


Order Consolidating Actions and Extending Defendants’ Deadline to Answer or Otherwise Respond - Page 2
Case 3:16-cv-00668-L          Document 17         Filed 04/28/16       Page 3 of 3      PageID 129



deadlines for Plaintiffs to file a consolidated complaint and Defendants to answer or otherwise

respond to the consolidated complaint. The clerk of the court shall docket this order in both cases

herein referenced.

       It is so ordered this 28th day of April, 2016.



                                                        _________________________________
                                                        Sam A. Lindsay
                                                        United States District Judge




Order Consolidating Actions and Extending Defendants’ Deadline to Answer or Otherwise Respond - Page 3
